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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      Case No. 1:21-cr-00489 (RDM)
       v.                                     :
                                              :
JAMIE N. BUTEAU                               :
                                              :
and                                           :
                                              :
JENNIFER P. BUTEAU,                           :
                                              :
                Defendants.                   :

                                 NOTICE OF WITHDRAWL


       The United States of America by and through its attorney, The Acting United States

Attorney for the District of Columbia, informs the Court that Trial Attorney, detailee, Clayton H.

O’Connor, as counsel for the United States, is terminating his appearance as counsel of records

in this matter. All other government counsel noted on the docket at the time of this filing will

remain counsel for the United States.



                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              Acting United States Attorney
                                              DC Bar No. 415793

                                        By:           Clayton H. O’Connor
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